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                       EXHIBIT B
                     (Redlined Pages )
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              ) Chapter 11
                                                                    )
Amyris, Inc.,1                                                      ) Case No. 23-11131
                                                                    )
                                      Debtors.                      ) (Jointly Administered)
                                                                    )
                                                                      Re: Docket No. [●]

                  INTERIM ORDER (I) AUTHORIZING THE DEBTORS
           (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE
          CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
    PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
    (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

           Upon the motion (the “DIP Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) in the above captioned chapter 11 cases (collectively, the

“Chapter 11 Cases”) for entry of an interim order (this “Interim Order”), pursuant to sections

105, 361, 362, 363, 364, 507, and 552 of title 11 of the United States Code (as amended, the

“Bankruptcy Code”), rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 2002-1(b), 4001-2, 9006-1, and 9013 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), seeking entry of this Interim Order:

        (i)         authorizing Amyris, Inc., Amyris Clean Beauty, Inc., and Aprinnova, LLC, in
                    their capacity as borrowers (collectively, the “Borrowers”), to obtain
                    postpetition financing, and for each of the other Debtors and such other
                    non-Debtor subsidiaries to guarantee unconditionally (the Debtors and such
                    other non-Debtor subsidiaries, other than the Borrowers as specified below3,
1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings given to such terms in the Motion or the DIP
    Credit Agreement (as defined herein).
3
    The Guarantors shall be AB Technologies LLC, Amyris Fuels, LLC, Amyris-Olika LLC, Onda Beauty Inc.,
    Upland 1, LLC, Amyris Eco-Fab LLC, Clean Beauty 4U Holdings, LLC, Amyris Clean Beauty LATAM Ltda.,


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business days’ prior notice), at which the Debtors seek to prevent the DIP Agent from exercising

any of its rights and remedies that arise after an Event of Default (except for those provided for

in the DIP Agent remedies), the sole issue the Debtors may raise before the Bankruptcy Court at

such hearing shall be whether an Event of Default has occurred and has not been waived. No

other issue or argument shall be relevant to any opposition to enforcement of the DIP Agent’s

rights by the Debtors at such hearing.

         17.      Limitation on Charging Expenses Against Collateral. No expenses of

administration of the Chapter 11 Cases or any future proceeding that may result therefrom,

including liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be

charged against or recovered from (a) the Prepetition Collateral or the Foris Prepetition Secured

Lenders, subject to entry of the Final Order, to the extent provided therein, or (b) the DIP

Collateral (except to the extent of the Carve-Out), the DIP Agent or the DIP Lenders, in each

case, pursuant to sections 105(a) or 506(c) of the Bankruptcy Code or any similar principle of

law or equity, without the prior written consent of the DIP Agent, the DIP Lenders, and the Foris

Prepetition Secured Lenders, as applicable, and no such consent shall be implied from any other

action, inaction, or acquiescence by the DIP Agent, the DIP Lenders, or the Foris Prepetition

Secured Lenders.

         18.      Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

Collateral of the Foris Prepetition Secured Lenders, but solely for the purposes set forth in this

Interim Order and in accordance with the Budget (subject to Permitted Variances as set forth in

this Interim Order and the DIP Documents) including, without limitation, to make payments on

account of the Adequate Protection Obligations provided for in this Interim Order, from the date

of this Interim Order through and including the Termination Date.



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